       Case 1:16-cv-03072-WSD Document 32 Filed 03/09/17 Page 1 of 29




                   UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION
BRADLEY ALBERT, PATRICK                )
KNIERY, individually and on behalf     )
of all others similarly situated,      )
                                       )    CIVIL ACTION
      Plaintiffs,                      )
v.                                     )    FILE NO. 1:16-CV-03072-WSD
                                       )
HGS COLIBRIUM, INC.,                   )
                                       )    Before the Honorable
      Defendant.                       )    William S. Duffey, Jr.

 DEFENDANT’S MEMORANDUM IN OPPOSITION TO PLAINTIFFS’
 MOTION FOR CONDITIONAL CERTIFICATION OF A COLLECTIVE
      ACTION UNDER THE FAIR LABOR STANDARDS ACT
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          Case 1:16-cv-03072-WSD Document 32 Filed 03/09/17 Page 2 of 29




                                           TABLE OF CONTENTS


INTRODUCTION .....................................................................................................1

FACTUAL BACKGROUND ....................................................................................2

ARGUMENT .............................................................................................................5

I.       GENERAL REQUIREMENTS FOR CONDITIONAL CERTIFICATION
         OF AN FLSA COLLECTIVE ACTION .........................................................5

II.      PLAINTIFFS HAVE FAILED TO SHOW THAT THEY ARE
         “SIMILARLY SITUATED” TO THE OTHERS............................................7

         A. Plaintiffs Failed to Provide “Detailed” Affidavits As Required..............7

         B.     The Determination of Liability For All SRs Would Require Thousands
                of Individualized Inquiries Into Each SR’s Daily Activities .................11

         C.     Plaintiffs Do Not Claim or Show That All Members of the Putative
                Class Worked Unpaid Overtime ............................................................19

         D. Plaintiffs Have Not Sufficiently Shown That There Are Other
            “Similarly Situated” Employees Who Desire to “Opt-In” to This Case
            ................................................................................................................20

III.     EVEN IF THE COURT GRANTS THE MOTION, THE PLAINTIFFS’
         PROPOSED NOTICE SHOULD BE REVISED ..........................................22

CONCLUSION ........................................................................................................25




                                                              i
       Case 1:16-cv-03072-WSD Document 32 Filed 03/09/17 Page 3 of 29




                                 INTRODUCTION
      For four reasons, the Court should deny Plaintiffs’ motion for conditional

certification of a collective action under the Fair Labor Standards Act (“FLSA”).

29 U.S.C. §§ 201 et seq.

      First, the four Declarations submitted by Plaintiffs Albert and Kniery, Scott

Kuechenmeister, and Rita Lacey (hereinafter the “Declarants”) are all virtually

identical, extremely vague, and rely on unsupported “beliefs” and “good-faith”

estimates rather than specific facts to show that Plaintiffs are “similarly situated” to

others. Such Declarations fall short of the “detailed” allegations that are required.

      Second, there are significant differences among the 62 Sales Representatives

(“SRs”) who worked on the Colorado HealthOp account in terms of the number of

hours they worked on a weekly basis, their time-keeping practices (including their

own failure to clock in or out), their receipt of overtime pay, and their supervision

by different team leaders (known as “team leads”). In addition, the determination

of liability for each SR will require, in the aggregate, thousands of highly

individualized determinations of each one’s daily activities, using a variety of data

sources such as time records, call-center phone logs, and the SRs’ personal

cellphone and email records. In similar cases involving the need for “correction-

by-correction mini-trials,” courts have denied conditional certification.
       Case 1:16-cv-03072-WSD Document 32 Filed 03/09/17 Page 4 of 29




      Third, a collective action is not appropriate since many SRs never worked

even close to forty hours a week, and liability cannot be established on a class-

wide basis.

      Fourth, Plaintiffs have failed to show that other SRs desire to opt-in to this

suit since it was filed almost six months ago. Only four of 62 SRs have expressed

interest, and all four were associates who initially communicated about overtime

concerns in April 2015. No one outside that insular group has shown any interest.

                           FACTUAL BACKGROUND
      In the relevant period (September 1, 2014 to March 31, 2015), Colibrium

operated a telephone call center in Roswell, Georgia. It hired non-exempt licensed

sales agents (who Plaintiffs call “SRs”) to sell health-insurance policies offered by

Colibrium’s clients. (Exhibit A, Declaration of Sharon W. Boone, ¶¶ 3-6.)

      The four Declarants were among 62 SRs who sold insurance policies of

Colorado HealthOp (a Colibrium client) during the relevant period. All the SRs

were advised that they were entitled to time-and-a-half pay for all overtime

worked, and that was also stated in Colibrium’s employee handbook. (Id. ¶ 24-27.)

      The four Declarations submitted by Plaintiffs are virtually identical. (Pl.

Mem., Exs. 1-4.) As discussed further below, (1) they all “estimate in good faith”

that each Declarant worked the same 48 hours each week without payment for



                                          2
       Case 1:16-cv-03072-WSD Document 32 Filed 03/09/17 Page 5 of 29




overtime, and (2) they all “believe” that “all” other SRs were similarly not paid for

overtime.1 No details were provided.

      The Declarations allege that unnamed “supervisors” had a practice of (1)

instructing SRs to log out but to continue working off-the-clock, and (2) altering

time records to ensure that no overtime work was recorded. (Pl. Mem. at 5.)

Colibrium denies these allegations. (Ex. A, Boone Decl. ¶ 23, 51.)

      There were no secrets about time records at Colibrium: SRs could see their

time records and all adjustments on the “Replicon” timekeeping system. (Id. ¶ 33.)

Numerous adjustments to the time records were made by “team leads” for

legitimate reasons, such as when an SR forgot to clock in or clock out, double

punched in or out, or when the Replicon time-keeping system was not operational.

(Id. ¶ 30.) For example, adjustments were made on 44 of the 118 days worked by

Plaintiff Albert, and on 96 of the 108 days worked by Plaintiff Kniery. (Id. ¶ 47.)

      The 62 SRs who worked on the Colorado HealthOp account differed in a

variety of ways. The time records show that some never approached working 40

hours in a week, and 27 SRs averaged less than 30 hours per workweek. (Ex. A,

Boone Decl. ¶ 17.) At least eight SRs never worked more than 30 hours per week.



1
      See Pl. Mem., Ex. 1, Albert Decl. ¶¶ 9, 22; Ex. 2, Kniery Decl. ¶¶ 9, 22; Ex.
3, Kuechenmeister Decl. ¶¶ 9, 22; Ex. 4, Lacey Decl. ¶¶ 9, 22.

                                          3
       Case 1:16-cv-03072-WSD Document 32 Filed 03/09/17 Page 6 of 29




(Id.) Some SRs (including three of the Declarants) received overtime pay (over 26

hours for Ms. Lacey), while some (like Mr. Bradley) received none. (Id. ¶¶ 36-40.)

      Some SRs frequently failed to clock in or out on a work day (as occurred on

33 days for Mr. Kniery), while this occurred less frequently for others. (Id. ¶ 41.)

The various SRs worked at Colibrium for different periods of time, with some

working before or after the peak selling season and a few working two weeks or

less. (Id. ¶¶ 12-14.) Some SRs targeted special types of customers (e.g., small

businesses, or Native Americans). (Id. ¶ 16.) The SRs began and ended work on

different daily work schedules. (Id. ¶¶ 20, 21, 52.)

      The SRs also worked for different team leads, who had different practices in

making time adjustments. For example, one team lead made time adjustments on

41.7% of the 103 workdays in which he supervised Mr. Albert, and another team

lead made time adjustments in only 6.7% of the 15 workdays in which he

supervised Mr. Albert. (Ex. A, Boone Decl. ¶¶ 46, 47.)

      For these reasons, the determination whether each SR worked more than 40

hours per week is a highly individualized inquiry requiring an examination of

dozens of adjustments for each SR, and likely thousands for all 62 SRs. In

addition, to determine whether each SR worked overtime, a highly individualized

analysis is required of several data sources available for each SR. These include,


                                          4
       Case 1:16-cv-03072-WSD Document 32 Filed 03/09/17 Page 7 of 29




inter alia, Colibrium time records for each SR (showing originally entered time

and entries showing all time adjustments), logs showing telephone calling activity

by each SR during each workday, and each SR’s personal email and telephone

records which show when they were not working (as personal calls or emails were

prohibited by Colibrium during working hours). (Boone Decl. ¶¶ 31, 48-50.)

                                   ARGUMENT

 I.   GENERAL REQUIREMENTS FOR CONDITIONAL
      CERTIFICATION OF AN FLSA COLLECTIVE ACTION
      Subject to exceptions, the FLSA requires an employer to pay overtime for

work in excess of 40 hours per week. 28 U.S.C. § 207(a)(1). An employee may

seek to bring a “collective action” to enforce this FLSA requirement “in behalf of

himself . . . and other employees similarly situated.” 28 U.S.C. § 216(b).

      “The decision to create an opt-in class under § 216(b) . . . remains soundly

within the discretion of the district court.” Hipp v. Liberty Nat. Life Ins. Co., 252

F.3d 1208, 1219 (11th Cir. 2001). While the standard for conditional certification

is lenient, it is not a blank check for FLSA plaintiffs. As this Court explained:

      The Eleventh Circuit encourages district courts to perform a two-step
      process to certify a collective action under Section 216(b). . . . In the
      initial so-called “notice stage,” the question is whether notice of the
      action should be given to potential class members. . . . Relying on the
      pleadings and affidavits submitted by the parties, the court applies a
      “fairly lenient standard” that “typically results in ‘conditional
      certification’ of a representative class.” Plaintiffs bear the burden of

                                          5
         Case 1:16-cv-03072-WSD Document 32 Filed 03/09/17 Page 8 of 29




        establishing that they are ‘similarly situated’ to the employees they
        seek to represent. . . . Unsupported, generalized allegations of
        similar[it]y are not sufficient. . . .

        The plaintiffs may meet this burden, which is not heavy, “by making
        substantial allegations of class-wide discrimination, that is, detailed
        allegations supported by affidavits which successfully engage
        defendants’ affidavits to the contrary.” . . . Plaintiffs are required only
        to show that they and the potential class-members are similarly, not
        identically, situated. . . . Plaintiffs “must [at least] make some
        rudimentary showing of commonality between the basis for [their]
        claims and that of the potential claims of the proposed class, beyond
        the mere facts of job duties and pay provisions.”

Butz v. Amware Distribution Warehouses of Georgia, Inc., No. 1:13-cv-

3204-WSD, 2014 WL 1513172, at *6 (N.D. Ga. April 16, 2014) (emphasis

added; internal citations omitted).

        Furthermore, certification must pass an efficiency test. Even though a

plaintiff need not show “a unified policy, plan, or scheme” to obtain

conditional certification, “‘some identifiable facts or logical nexus must bind

the claims so that hearing the cases together promotes judicial efficiency.’”

Butz, 2014 WL 1513172, at *7 (citation omitted) (emphasis added).

        Pursuant to these principles, and as shown in Part II below, motions for

conditional certification have been denied in circumstances like those presented

here.



                                            6
       Case 1:16-cv-03072-WSD Document 32 Filed 03/09/17 Page 9 of 29




II.   PLAINTIFFS HAVE FAILED TO SHOW THAT THEY ARE
      “SIMILARLY SITUATED” TO THE OTHERS
      Colibrium denies the allegation that it failed to pay overtime required by the

FLSA. But the Court’s task in this motion is not to make credibility

determinations about whether there was “an actual violation of law.” Kreher v.

City of Atlanta, Georgia, No. 1:04-cv-2651-WSD, 2006 WL 739572, at *4 (N.D.

Ga. March 20, 2006). Rather, it is to determine whether the Plaintiffs have shown

that they are “similarly situated” to the putative class. Id. We focus on that issue.

          A. Plaintiffs Failed to Provide “Detailed” Affidavits As Required

      The four Declarations submitted by Plaintiffs are all nearly identical,

“cookie-cutter” statements that are void of specificity. Each one parrots almost

verbatim the language of the Amended Complaint (Dkt. No. 21, ¶ 41) alleging that

managers acted to eliminate any record of overtime hours.2 Each Declaration

“estimate[s] in good faith” that the Declarant worked the same “approximately

forty-eight (48) hours in a typical workweek,” including the week of November 2,

2014, 3 but none provide any foundation to support that identical “estimate.”




2
      See Albert Decl. ¶ 14; Kniery Decl. ¶ 14; Kuechenmeister Decl. ¶ 14; Lacey
Decl. ¶ 14.
3
      See Albert Decl. ¶¶ 9-10; Kniery Decl. ¶¶ 9-10; Kuechenmeister Decl. ¶¶ 9-
10; Lacey Decl. ¶¶ 9-10.

                                          7
      Case 1:16-cv-03072-WSD Document 32 Filed 03/09/17 Page 10 of 29




      Most importantly, none of the Declarants provided any foundation for their

statements that “I believe the defendants required all SRs to perform work on-the-

clock and/or off-the-clock for which they were not fully compensated,” and “I

believe that defendant’s managers adjusted the SRs’ hours to reflect that they

worked less than 40 in a workweek.”4 (Emphasis added.) Thus, Plaintiffs are

asking this Court to conditionally certify a collective action based on nothing more

than an unsupported and unexplained “belief” of liability to a class of all SRs.

      While Plaintiffs correctly note that their burden is “not a heavy one” at the

conditional-certification stage (Pl. Mem. at 8), they cite no case in which

certification was permitted on such nebulous grounds.

      “Plaintiffs bear the burden of establishing that they are similarly situated

with a group of employees they wish to represent.” Beecher v. Steak N Shake

Operations, Inc., 904 F. Supp. 2d 1289, 1297 (N.D. Ga. 2012). As noted above, “a

showing of similarity requires more than unsupported and generalized allegations,”

and the Plaintiffs must support their motion by “detailed allegations supported by




4
      See Albert Decl. ¶ 22; Kniery Decl. ¶ 22; Kuechenmeister Decl. ¶ 22; Lacey
Decl. ¶ 22.

                                          8
       Case 1:16-cv-03072-WSD Document 32 Filed 03/09/17 Page 11 of 29




affidavits.” Id. at 1298 (citing Grayson v. K Mart Corp., 79 F.3d 1086, 1096-97

(11th Cir. 1996)) (emphasis added).5

      This is especially so where a complaint alleges that changes were made to

time records, since there can be numerous legitimate reasons for such changes, as

was the case here. (Ex. A, Boone Decl. ¶ 30.) Beecher, 904 F. Supp. 2d at 1299

(plaintiffs did not show that others were “similarly situated” where “legitimate

reasons exist for making changes” to time records). It is also not unlawful for an

employer like Colibrium to “generally discourage[] managers from allowing

overtime work.” Id. at 1298. See Chalker, 2013 WL 5954783, at *2.

      In Beecher, the plaintiff presented declarations that “all ma[d]e the same

general assertions” that the employees “were not paid overtime” and were “not

paid for all hours worked.” 904 F. Supp. 2d at 1294. However, the plaintiffs failed

to “provide examples or dates of such allegedly unlawful activity.” Id. The court

criticized the declarations as “replete with ‘cookie-cutter’ statements void of



5
       See Chalker v. Burlington Coat Factory of Florida, LLC, No. 8:12-cv-2755-
T-23TBM, 2013 WL 5954783 (M.D. Fl. Nov. 7, 2013) (the burden at the notice
stage is “‘not invisible,” and “‘federal courts across the Middle and Southern
Districts of Florida have routinely denied requests for conditional certification
where plaintiffs attempt to certify a broad class based only on the conclusory
allegations of a few employees’”) (citation omitted); Hart v. JPMorgan Chase
Bank, N.A., No. 8:12-CV-00470-T-27TBM, 2012 WL 6196035, at *4 (M.D. Fla.
Dec. 12, 2012) (same).

                                          9
       Case 1:16-cv-03072-WSD Document 32 Filed 03/09/17 Page 12 of 29




specificity,” id., but nonetheless considered them before eventually denying

conditional certification. Id. at 1298 n. 7.

      In an analogous case, this Court ruled in Butz that plaintiff’s “one-sentence

statement on comparable job duties” was “made without any foundation for the

statement offered,” and did not provide a “sufficient factual basis to support” for

conditional certification. 2014 WL 1513172, at *5-6.

      The Court should also discount the bare-bone Declarations because the time

records show they are inaccurate in basic respects. For example, Mr.

Kuechenmeister asserts that he worked for at least 48 hours during the week of

November 2-8, 2014, which would be impossible because he worked only two

days that week. (Ex. A, Boone Decl. ¶ 53.) The Declarants also incorrectly

described their daily work schedules. (Id. ¶ 52.)

      In short, the four “cookie-cutter” Declarations do not meet even the lenient

standard applicable at the conditional certification stage. Even the case that

Plaintiffs rely upon, Jewell v Aaron’s, Inc., No. 1:12-cv-0563-AT, 2012 WL

2477039, at *4 (N.D. Ga. June 29, 2012) (Pl. Mem. at 8), declined to conditionally




                                          10
      Case 1:16-cv-03072-WSD Document 32 Filed 03/09/17 Page 13 of 29




certify a class based on the “bare-boned record originally presented by Plaintiffs”

in over 20 declarations.6

         B. The Determination of Liability For All SRs Would Require
            Thousands of Individualized Inquiries Into Each SR’s Daily Activities

      The evidence necessary to determine the number of hours worked by each

SR – and liability vel non for overtime wages under the FLSA – is highly

individualized in two respects.

      First, as described above, SRs had vastly different experiences in terms of

their working time and daily activities. Some never approached working 40 hours

in a week, and 27 SRs averaged less than 30 hours per workweek. (Ex. A, Boone

Decl. ¶ 17.) Some received considerable overtime pay, while some never received

any. (Id. ¶¶ 36-40.) Some (such as Mr. Kniery) frequently failed to log in or log

out, while this occurred less frequently for others. (Id. ¶¶ 41, 42.) SRs worked at

Colibrium for different lengths of time, with some working before or after the peak

selling season. (Id. ¶¶ 13-14.) The SRs began and ended work on different daily

work schedules. (Id. ¶¶ 20-21, 52.) The SRs also worked for different team leads,



6
       Plaintiffs should not be permitted to submit additional declarations in their
reply brief to try to salvage their motion. As the court ruled in a conditional-
certification case cited by Plaintiffs, the “Court should not consider evidence and
arguments raised for the first time in a reply brief.” McCray v. Cellco Partnership,
No. 1:10-cv-2821-SCJ, 2011 WL 2893061, at *3 (N.D. Ga. April 8, 2011).

                                         11
       Case 1:16-cv-03072-WSD Document 32 Filed 03/09/17 Page 14 of 29




with some making more time adjustments than others. (Id. ¶¶ 46-47.) Some SRs

targeted special types of customers (e.g., small businesses, or Native Americans).

(Id. ¶ 16.)

       Individual SRs also had different experiences in terms of time adjustments.

Team leads made adjustments for Mr. Albert on 44 of 118 workdays (41%); for

Mr. Kniery on 96 of 108 workdays (89%); for Mr. Kuechenmeister on 23 of 68

workdays (34%); and for Ms. Lacey on 84 of 145 workdays (58%). (Ex. A, Boone

Decl. ¶¶ 46-47.) If extrapolated to the 62 SRs, the number of time adjustments

would reach into the thousands.

       Second, the evidence required to determine whether any SR worked

overtime requires a highly individualized analysis of different data sources. In

addition to individuals’ recollections, the data sources include, at the very least, (1)

individual Replicon time records for each SR and the audit entries showing who

made changes; (2) telephone logs of each SR’s call-center calling activity; and (3)

each SR’s personal cellphone or email records. (Ex. A, Boone Decl. ¶¶ 48-50.)

       In similar cases involving allegations that supervisors manipulated time

records, courts in this District have denied conditional certification due to the

highly individualized nature of the analysis required to establish that class




                                          12
       Case 1:16-cv-03072-WSD Document 32 Filed 03/09/17 Page 15 of 29




members worked over 40 hours without receiving overtime pay. This trend has

become more pronounced recently (though court rulings are not all consistent).

      In an early case, Williams v. Accredited Home Lenders, Inc., No. 1:05-cv-

1681-TWT, 2006 WL 2085312, at *4 (N.D. Ga. July 25, 2006), the court denied a

motion for conditional certification where proof of unpaid overtime liability would

require an analysis of “computer activity reports, date and time stamped email and

phone records” to show whether plaintiffs were “working before and after the

times recorded on their timesheets.” The court ruled that the “fact-specific

individualized inquiry into each Plaintiff’s day-to-day activities” rendered the class

“not sufficiently similarly situated” for a collective action. Id. The court

considered such a collective action to be “unmanageable.” Id. at *5.

      In the 2012 ruling in Beecher, the court denied conditional certification

where, as here, the defendant-employer came forward with “individual time

records” showing both “uncorrected and corrected” time records, and explained

legitimate reasons for individual managers who made “the changes to the payroll

records” to make correction to those records (including employees’ “failing to

clock in or clock out, or clock in under the wrong job code”). 904 F. Supp. 2d at

1298-99. The court found that “Plaintiffs’ claims are too individualized to show a

pattern, practice, policy, or commonality,” and stressed the difficulty posed by


                                          13
       Case 1:16-cv-03072-WSD Document 32 Filed 03/09/17 Page 16 of 29




“‘correction-by-correction mini-trials’” of numerous corrections. The court

declined to conditionally certify the class even though the putative class involved

“the same positions, the same [employee] handbook, the same internal reports, and

the same method for clocking in [and] clocking out.” Id. at 1299.

      In Lockman v. Youme Windyhill, LLC, Civ. No. 1:13-cv-2525-TWT , 2014

WL 3908590 (N.D. Ga. Aug. 11, 2014), the court denied conditional certification

in an FLSA case involving employees of a single restaurant. The court followed

the Beecher ruling that conditional certification should be denied where “assessing

the merits of each putative class member’s claim would obviously require a highly

individualized inquiry.” Id. at *3. The court found that certification was

“especially inappropriate” since a “separate, extensive inquiry” would be required

“for each class member” due, among other factors, to the need to “determine how

many hours a particular employee actually worked during a given shift.” Id. at

**2, 3. The court distinguished such a case from a “traditional FLSA collective

action where a court can determine liability by primarily looking to the plaintiffs’

shared job description and official pay provisions.”7 Id. See Rindfleisch v.



7
       These principles were also addressed in Willoughby v. Youth Villages, Inc.,
113 F. Supp. 3d 1265, 1269 (N.D. Ga. 2015), where the court decertified a
collective action of employees of a residential treatment center where “numerous
employees” had timekeeping records “corrected on a significant number of

                                         14
       Case 1:16-cv-03072-WSD Document 32 Filed 03/09/17 Page 17 of 29




Gentiva Health Services, Inc., 22 F. Supp. 3d 1295, 1303 (N.D. Ga. 2014) (“as a

general rule, a group of opt-in plaintiffs cannot be similarly situated for purposes

of a collective action when individual determinations regarding liability must be

made”).

      Like this case, in Wallace v. Norcross Associates, LLC, No. 1:13-cv-1349-

RWS, 2014 WL 1373659 (N.D. Ga. April 8, 2014), the court considered a motion

for conditional certification of a putative class of telephone sales agents. Although

the agents in Wallace were not all compensated in the same way, id. at *4, which

differs from this case, the logic of the court’s holding applies here:

          Litigating this case as a collective action would not assist the
          Court in determining liability for the entire class, as each
          employee would have to prove the number of hours worked,
          whether Defendants failed to compensate them for overtime
          hours, and whether Defendants failed to pay them any earned
          commissions. “In other words, there must be a fact-specific
          individualized inquiry into each Plaintiff’s day-to-day activities.”

Id. at *4 (citing Williams, 2006 WL 2085312, at *4) (emphasis added).




occasions.” The court explained that certification is only appropriate where
plaintiffs establish “liability on a class-wide basis,” id. at 1272, and that was not
the case because “individualized inquiries” were required on hours worked “on a
week-to-week basis,” the circumstances of “corrections,” and the instructions
given by “particular supervisor[s]” serve to “preclude collective determination.”
Id., at 1273, 1274.

                                          15
       Case 1:16-cv-03072-WSD Document 32 Filed 03/09/17 Page 18 of 29




      Courts have also found that the existence of different supervisors, who

supervised different employees’ time, is a contributing factor in finding that

putative class members are not similarly situated to plaintiffs. See Beecher, 904 F.

Supp. 2d at 1297 (denying conditional certification where, among other factors,

“individual store managers typically make the changes to the payroll records”).8

      This case likewise requires a highly individualized analysis of each SR’s

circumstances and work hours (using time records, telephone logs, cellphone

records, and other evidence) in order to establish liability for unpaid overtime

when scores of time adjustments were made. The Court should therefore deny the

motion for conditional certification.




8
       See Chalker, 2013 WL 5954783, at *3 (employees were not similarly
situated where “plaintiff’s evidence suggests, at most, that one or more store
managers, acting independently and not in accord with a common policy (and in
defiance of stated policy) coerced some employees into working overtime without
compensation”); Hart v. JPMorgan Chase Bank, N.A., No. 8:12-CV-00470-T-
27TBM, 2012 WL 6196035, at *5 (M.D. Fla. Dec. 12, 2012) (noting that “putative
class members were subject to, inter alia, different supervisors and] timekeeping
practices” as factors in finding that putative class was not similarly situated and
denying conditional certification.) Cf., Butz, 2014 WL 1513172, at *5–6
(employees who worked in different locations were not similarly situated
“especially when each location has a different on-site manager”); Zulauf v.
Amerisave Mortg. Corp., 911 F. Supp. 2d 1266,1274 (N.D. Ga. 2012) (collective
action decertified where, inter alia, the evidence showed only that “some, but not
all, SMP-manages encouraged a FLSA-violating policy” and did not show
existence of such a policy “emanating from [defendant’s] top management”).

                                         16
      Case 1:16-cv-03072-WSD Document 32 Filed 03/09/17 Page 19 of 29




      None of the cases cited by Plaintiffs (Pl. Mem. at 9) involved the conditional

certification of a collective action where the defendant showed that a highly

individualized analysis of numerous time adjustments would be required to

establish liability. Instead, those cases involved employers’ objections that class

members were not “similarly situated” in terms of “job functions,” “job

requirements,” exempt status, or different compensation.9

      Finally, none of the Declarations assert as a matter of fact that all SRs were

“subject to the same unified policy, plan, or scheme, or “central control,” to avoid

overtime compensation. Jewell, 2012 WL 2477039, at *3. (Pl. Mem. at 9-10.)

The Declarants do not allege that they ever heard Ms. Sharon Boone, who

supervised the team leads, (a) instruct SRs to work off-the-clock, (b) instruct team

leads to alter time records, or (c) that she was aware of or countenanced such



9
       E.g., Reece v. United Home Care of Atlanta, Inc., No. 1:12-cv-2070-RWS,
2013 WL 895088, at *3 (N.D. Ga. March 8, 2013) (defendant objected that all
class members did not have “similar job functions”); Bradford v. CVS Pharmacy,
Inc., No. 1:12-cv-1159-TWT, 2013 WL 425060, at **2-5 (N.D. Ga. Feb. 4, 2013)
(defendant objected that class members had “different job requirements,” worked
at different locations, and that some were exempt employees); McCray, 2011 WL
2893061, at *2 (no evidence was presented to indicate that time records were
allegedly manipulated by managers, though court was not concerned about the
need for “adjudication through individualized inquiry”); Champenys v. Ferguson
Enterprises, Inc., No. IP 02-535-CH K, 2003 WL 1562219, at *5 (S.D. Ind. March
11, 2003) (defendants objected that putative class members were not “not
compensated on a similar basis”).

                                         17
       Case 1:16-cv-03072-WSD Document 32 Filed 03/09/17 Page 20 of 29




conduct. The Declarants vaguely state that they “believe” that the “defendant”

required “all SRs to perform work on-the-clock and/or off-the-clock for which they

were not fully compensated,” but do not allege that they heard all supervisors

instruct “all” SRs to work off-the-clock or that SRs did so.10 None of the cases

cited by Plaintiffs (Pl. Mem. at 9) found sufficient evidence of a “uniform policy”

to justify conditional certification of a collective action based on such vague

allegations and “beliefs.”11 Ms. Boone denies that there was any uniform policy to

deprive SRs of overtime pay. (Ex. A, Boone Decl. ¶¶ 23, 51.)




10
       See Albert Decl. ¶¶ 20, 22; Kniery Decl. ¶¶ 20, 22; Kuechenmeister Decl. ¶¶
20, 22; Lacey Decl. ¶¶ 20, 22. Plaintiffs’ allegation that Colibrium was “aware”
that the Declarants and “other SRs were working in excess of forty (40) hours per
workweek” (id. ¶12) is of no significance because that fact alone does not indicate
an awareness that overtime was not being paid. Three of the four Declarants were
paid for overtime at various times. (Ex. A, Boone Decl. ¶¶ 36-40.)
11
       See Jewell, 2012 WL 2477039, at *4 (court rejected “bare-boned”
declarations, and court required movant to provide “specific facts and evidence the
employee is aware of that suggests that Defendant’s alleged FLSA violations are a
systemic practice”); Lindberg v. UHS of Lakeside, LLC, 761 F. Supp. 2d 752, 756,
760 (W.D. Tenn. 2011) (plaintiff submitted declarations describing specific
interactions with named supervisors); Scott v. Heartland Home Fin., Inc., No. 1:05-
cv-2812, 2006 WL 1209813, at *3 (N.D. Ga. May 3, 2006) (plaintiffs submitted
170 declarations and 22 depositions to show a common policy); Harper v. Lovett’s
Buffet, Inc., 185 F.R.D., 358, 363, 364-65 (M.D. Ala. 1999) (plaintiffs did not
“present[] evidence of a uniform corporate practice discouraging overtime,” but
through 21 consents to opt-in presented evidence of a “pattern of potential FLSA
minimum wage and overtime violations” at a single restaurant).

                                         18
       Case 1:16-cv-03072-WSD Document 32 Filed 03/09/17 Page 21 of 29




          C. Plaintiffs Do Not Claim or Show That All Members of the Putative
             Class Worked Unpaid Overtime

      Courts have ruled that “a collective action is improper when actual liability

cannot be established on a class-wide basis.” Gentiva, 22 F. Supp. 3d at 1303. For

a collective action seeking overtime damages, “every Plaintiff has to actually be

owed overtime damages.” Id. See Willoughby, 113 F Supp. 3d at 1275.

      Plaintiffs’ Declarations state that they “believe” that Colibrium “required all

SRs” to perform work for which “they were not fully compensated,”12 but do not

assert that each SR at some point worked more than 40 hours a week and was not

paid overtime. In actuality, there were licensed agents whose time records indicate

that they never worked close to 40 hours per week. (Ex. A, Boone Decl. ¶ 17.)

One SR worked only two days. (Id. ¶ 14.)

      These facts show that it would be impossible for the Court to establish

liability on a class-wide basis for all SRs. Similar facts in Gentiva led the court to

decertify a collective action. The court found that “the fact that some Plaintiffs did

not actually work overtime hours, creates a disparate factual setting among the

individual Plaintiffs as the issue of liability is not susceptible to common proof.”

22 F. Supp. 3d at 1303. Although this case is at the “notice” stage, there would be


12
      See Albert Decl. ¶ 22; Kniery Decl. ¶ 22; Kuechenmeister Decl. ¶ 22; Lacey
Decl. ¶ 22.

                                          19
       Case 1:16-cv-03072-WSD Document 32 Filed 03/09/17 Page 22 of 29




no point in conditionally certifying a collective action when it would be doomed to

be decertified.

          D. Plaintiffs Have Not Sufficiently Shown That There Are Other
             “Similarly Situated” Employees Who Desire to “Opt-In” to This Case

      A court should not conditionally certify a collective action without first

“satisfy[ing] itself that there are other employees of the . . . employer who desire to

‘opt-in’ and are similarly situated.” Dybach v. State of Florida Dep’t of

Corrections, 942 F.2d 1562, 1567-68 (11th Cir. 1991). See Lovett v. SJAC Fulton

Ind. I, LLC, No. 1:14-cv-983-WSD, 2015 WL 3889719, at *11 (N.D. Ga. June 23,

2015) (“Plaintiff must show there are other employees who would desire to opt in

and that these other employees are similarly situated” based on more than

“‘unsupported expectations’”).

      Plaintiffs have failed to show that is so here, with two named Plaintiffs, and

two opt-ins, out of 62 persons who worked as SRs in the relevant period. (Ex. A,

Boone Decl. ¶ 14.) That equates to 6.45% of the total group, which falls short of

the 8-10% level that Plaintiffs note has been found to be a sufficient “showing of

interest” to support a collective action. (Pl. Mem. at 11.)

      The lack of interest is telling given that this suit was filed over six months

ago, on August 22, 2016, and no one has opted in since Mr. Kuechenmeister and

Ms. Lacey did so on the same day, September 29, 2016. (Dkt. Nos. 9, 11.)

                                          20
       Case 1:16-cv-03072-WSD Document 32 Filed 03/09/17 Page 23 of 29




Additionally, Plaintiffs have not shown any interest by other SRs who (unlike the

two opt-ins) were outside the small group that Mr. Albert contacted about his

commission and overtime concerns in April 2015.13 (Boone Decl. ¶¶ 57-58.)

      Several courts have found that as few as two or three opt-ins could be

sufficient. However, they did so in different circumstances.

      For example, in Reece v. United Home Care of North America, No. 1:12-cv-

2070-RWS, 2013 WL 895088, at *4 (N.D. Ga. March 8, 2013), the court found

that sufficient interest has been shown in a suit by a single plaintiff and two opt-ins

from 13 facilities. However, the court explained that “the fact that the putative

class may be spread over a wide geographic area” supported “the conclusion that

the interest shown was sufficient.” Reece, 2013 WL 895088, at *4 (emphasis in

original). That is not a factor here, since all SRs worked in the same location and

one would expect it to be easier for Plaintiffs to attract opt-ins from a more

cohesive group if any desired to join the case. (E.g., Albert Decl. ¶ 17.) In another



13
       Contrary to Plaintiffs’ brief, they and their counsel have been free to contact
other SRs since the outset of this case. (Pl. Mem. at 11.) Obviously, they
contacted Declarants Kuechenmeister and Lacey, who both signed opt-in
statements on September 29, 2016. (Dkt. Nos. 9, 11.) Local Rule 23.1 pertains to
class actions under Fed. R. Civ. P. 23, and not to collective actions. Plaintiffs’
counsel previously objected to Colibrium’s request that Plaintiffs disclose
communications with potential class members (Dkt. No. 22, at 11), and that
objection would have been pointless had there been no such communications.

                                          21
       Case 1:16-cv-03072-WSD Document 32 Filed 03/09/17 Page 24 of 29




case, the court found sufficient interest where there were three opt-ins and one

plaintiff, but these represented “22 percent of the class” who “may be spread over a

wide geographic area.” Riddle v. Suntrust Bank, No. 1:08-cv-1411-RWS, 2009

WL 3148768, at *3 (N.D. Ga. Sept. 29, 2009). The facts here are quite different,

and involve a smaller percentage of the class in which all members were located in

a more cohesive single facility.

       In sum, the interest shown by putative class members in this case falls below

the threshold generally found sufficient in similar cases.14

III.   EVEN IF THE COURT GRANTS THE MOTION, THE PLAINTIFFS’
       PROPOSED NOTICE SHOULD BE REVISED
       If the Court should grant the motion for conditional certification, it should

take steps to ensure that the notice sent to potential opt-ins is “timely, accurate, and

informative.” Hoffman-La Roche Inc. v. Sperling, 493 U.S. 165, 172 (1989).

Plaintiffs’ proposed Notice (Dkt. No. 29-6) suffers from several problems. It

should be revised as indicated in the attached marked-up version. (Exhibit B.)



14
       E.g., Crawford v. Refinishing Touch, Inc., No. 1:15-cv-3027-SCJ, 2016 WL
7744391, at *2 (N.D. Ga. July 1, 2016) (sufficient interest shown where there were
four plaintiffs and six opt-ins out of 40-50 class members); Randle v. Allconnect,
Inc., No. 1:14-cv-245-WSD, 2014 WL 1795184, at *3 (N.D. Ga. May 6, 2014)
(sufficient interest shown by plaintiff and six opt-ins working at call center);
Kreher, 2006 WL 739572, at **2, 4 (conditional certification “barely” granted in
case where eight declarations were submitted by plaintiffs and opt-ins).

                                          22
       Case 1:16-cv-03072-WSD Document 32 Filed 03/09/17 Page 25 of 29




      The cover page of Plaintiffs’ proposed Notice contains an overbroad

description of the persons to whom the notice is addressed, as it is not restricted to

SRs who worked on the Colorado HealthOp account. That should be corrected.

      The first sentence in the section titled “Your Right To Participate In

This Suit” inappropriately refers to persons employed as SRs “during the last

three years.” It should be revised to refer to those who worked on the

Colorado HealthOp account from September 1, 2014 to March 31, 2015.

      Plaintiffs’ proposed Notice contains too scant a description of Colibrium’s

position, stating only that Colibrium has “denied any wrongdoing or liability and

contests all claims that have been asserted.”15 (Dkt. No. 29-6.) Thus, the last

sentence of the “Description of the Lawsuit” should be changed to read:

      Colibrium denies the allegations in this lawsuit initiated by two Sales
      Representatives. Colibrium claims that it acted in good faith,
      complied with the Fair Labor Standards Act, and paid its employees
      all required overtime compensation.




15
      Courts have allowed defendants to insert statements of defense into similar
notices. See Jackson v. Fed. Nat'l Mortg. Ass'n, 181 F. Supp. 3d 1044, 1062 (N.D.
Ga. 2016) (allowing the addition of a statement of defendant’s position “in non-
argumentative fashion”); Page v. Hertz Corp., No. 1:12-cv-1965-WSD, Order
Granting In Part Motion to Conditional Collective-Action Certification and Notice
to the Class, ECF 60-1, at 5-6 (N.D. Ga. May 29, 2013) (Exhibit C hereto);
Alexander v. CYDCOR, Inc., No. 1:11-CV-91578-SCJ, 2012 WL 1142449, at * 6
(N.D. Ga. Apr. 6, 2012).

                                          23
       Case 1:16-cv-03072-WSD Document 32 Filed 03/09/17 Page 26 of 29




      Plaintiffs’ proposed Notice gives putative opt-ins ninety (90) days from the

date of the Notice to file a “Consent to Join.” (Pl. Mem., Ex. 5, at 3.) That is an

excessive period, and the response period should be limited to thirty (30) days.

This Court has previously approved a thirty-day response deadline,16 which is more

reasonable here considering that this case has been pending for over six months

and discovery is already underway.

      This Court has permitted the inclusion of the name and address of

Defendant’s counsel, and should do so here. Kreher, ECF 67-1, at 6.

      Colibrium requests the addition of the following sentence:

      If you choose to file a “Consent to Join” and become a plaintiff in this
      action, you may be required to: provide information or documents to
      counsel for Plaintiffs and to counsel for Defendant; give deposition
      testimony; and if the case proceeds to trial, you may be called to
      testify in Court.

Similar statements have been allowed by this Court and in this district. See Page,

ECF 60-1, at 5-6 (Ex. C); Bennett v. Advanced Cable Contractors, Inc., No. 1:12-

cv-1150-RWS, 2012 WL 1600443 at *17 (N.D. Ga. May 7, 2012.)




16
      E.g., Kreher v. City of Atlanta, Georgia, No. 1:04-CV-2651-WSD, Order
Granting Motion to Certify Class, ECF 67-1, at 3 (N.D. Ga. March 20, 2006)
(Exhibit D hereto). Cf., Zulauf v. Amerisave Mortg. Corp., No. 1:11-cv-1784-
WSD, 2011 WL 12677018, at *23 n.23 (N.D. Ga. Nov. 23, 2011) (45-day period).

                                         24
       Case 1:16-cv-03072-WSD Document 32 Filed 03/09/17 Page 27 of 29




      Colibrium also objects to Plaintiffs’ request that Colibrium provide them

with personal information that includes the last four digits of SRs’ social security

numbers and dates of birth, or specific dates of employment within the seven

month period at issue. (Pl. Mem. at 15.) This Court has rejected such requests. 17

                                   CONCLUSION

      For the foregoing reasons, the Court should deny Plaintiffs’ motion for

conditional certification of a collective action.

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                                      Attorneys for Defendant HGS Colibrium, Inc.


17
       See Randle, 2014 WL 1795184, at *4 (ordering defendant to disclose
employees’ names, contact information and dates of birth, but stating “the
production of employees’ social security numbers is not required at this time”);
Page v. Hertz Corp., No. 12-cv-1965-WSD, 2013 WL 2355544, at *4 n.5 (N.D.
Ga. May 29, 2013) (“[t]he production of the employees’ social security numbers is
not required at this time”).

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      Case 1:16-cv-03072-WSD Document 32 Filed 03/09/17 Page 28 of 29




                     CERTIFICATE OF COMPLIANCE
      Pursuant to LR 7.1D, the undersigned counsel certify that the foregoing has

been prepared in Times New Roman 14 point, one of the four fonts and points

approved by the Court in LR 5.1C.

                                     /s/John Lockett
                                     John A. Lockett III
                                     Georgia Bar No. 455549
      Case 1:16-cv-03072-WSD Document 32 Filed 03/09/17 Page 29 of 29




                   UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION
BRADLEY ALBERT, PATRICK                    )
KNIERY, individually and on behalf of      )
all others similarly situated,             )
                                           )     CIVIL ACTION
      Plaintiffs,                          )
                                           )     FILE NO. 1:16-CV-03072-WSD
v.                                         )
                                           )
HGS COLIBRIUM, INC.,                       )
                                           )     Before the Honorable
      Defendant.                           )     William S. Duffey, Jr.
                                           )

                         CERTIFICATE OF SERVICE
      I hereby certify that I have on this day, filed electronically via CM/ECF a
true copy of the within and foregoing DEFENDANT’S MEMORANDUM IN
OPPOSITION TO PLAINTIFFS’ MOTION FOR CONDITIONAL CLASS
CERTIFICATION UNDER THE FAIR LABOR STANDARDS ACT in the
United States District Court for the Northern District of Georgia, with notice of
same being electronically served by the Court, addressed to the following:
                          John R. Hunt, Esq.
                          Stokes Wagner, ALC
                          One Atlantic Center, Suite 2400
                          1201 W. Peachtree Street
                          Atlanta, GA 30309

      This 9th day of March, 2017.

                                       /s/John Lockett
                                       John A. Lockett III
                                       Georgia Bar No. 455549
